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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

Victoria Nelson,              )
                              )               Case No. 1:10-cv-1142
                 Plaintiff,   )
                              )               Hon. Gordon J. Quist
           v.                 )
                              )
MS Services, LLC, a Wyoming   )
limited liability company,    )
                              )
                 Defendant.   )
______________________________)

                                     Stipulation of Dismissal

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, plaintiff Victoria

Nelson, through her attorney of record, and defendant MS Services, LLC, through its attorneys of

record, being all of the parties who have appeared in this action, stipulate to the immediate

dismissal of this action with prejudice.

Dated: January 4, 2011                               /s/ Phillip C. Rogers
                                                     Phillip C. Rogers (P34356)
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Dated: January 4, 2011                               /s/ Boyd W. Gentry
                                                     Boyd W. Gentry (OH# 0071057)
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